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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number 99-20018
v.                                                            Honorable David M. Lawson

RUBY LIDDELL,

                  Defendant.
_____________________________________ /

     ORDER DENYING DEFENDANT’S MOTION FOR REDUCTION OF SENTENCE

       The matter is before the Court on the defendant’s motions for reduction in sentence. After

a jury trial, the defendant was found guilty of conspiracy to possess with intent to distribute

controlled substances (count 1), distribution of marijuana (count 14), and felon in possession of a

firearm (count 30). On September 27, 2001, the defendant was sentenced to 324 months

imprisonment on count 1, 60 months on count 14, and 120 months on count 30, to be served

concurrently. The defendant also was sentenced to 5 years supervised release on count 1, 3 years

on count 14, and 3 years on count 30, to be served concurrently. The defendant was fined $25,000.

The guideline range calculated at the time of sentencing was based on a total offense level of 40 and

criminal history category of II, resulting in a guideline range of 324 to 405 months.

       On April 6, 2004, the government moved to reduce the defendant’s sentence based on his

substantial assistance, and on August 2, 2004, the Court reduced the defendant’s sentence to 204

months imprisonment on count 1, left the sentences for counts 14 and 30 unchanged, and reduced

the fine to $15,000.
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       Now before the Court is the defendant’s motion to reduce his sentence under 18 U.S.C.

§ 3582(c). The defendant argues that he is entitled to have his sentence reduced because the United

States Sentencing Commission, following the enactment of the Fair Sentencing Act of 2010, issued

new and more lenient sentencing guidelines applicable to offenses involving crack cocaine. Those

guidelines were made retroactive by the Sentencing Commission as of November 1, 2011.

       Under 18 U.S.C. § 3582(c)(2), a court may modify a term of imprisonment after it is imposed

only under certain conditions:

       [I]n the case of a defendant who has been sentenced to a term of imprisonment based
       on a sentencing range that has subsequently been lowered by the Sentencing
       Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
       Director of the Bureau of Prisons, or on its own motion, the court may reduce the
       term of imprisonment, after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if such a reduction is consistent with applicable policy
       statements issued by the Sentencing Commission.

Section 1B1.10(a)(2) of the Sentencing Guidelines provides that a defendant is not eligible for a

sentence reduction if the amendment to the Sentencing Guidelines — in this case, Amendment 750,

which was made retroactive by Amendment 759 — “does not have the effect of lowering the

defendant’s applicable guideline range.” U.S.S.G. § 1B1.10(a)(2)(B).

       The quantity of drugs used to calculate the defendant’s original base offense level was 8,350

kilograms of marijuana equivalency, which calculated by totaling the following amounts: 30

kilograms of cocaine (6,000 kilograms of marijuana equivalency), 100 grams of cocaine base (2,000

kilograms of marijuana equivalency), 100 grams of heroin (100 kilograms of marijuana

equivalency), and 250 kilograms of marijuana. Based on the Fair Sentencing Act and Crack

Retroactivity Amendment, the defendant’s new base offense level would be based on 6,707.1

kilograms of marijuana equivalency. See U.S.S.G. § 2D1.1 app. n.10(D). The defendant’s base


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offense level would remain unchanged at 34 because his drug quantity fell between 3,000 and

10,000 kilograms of marijuana equivalency. U.S.S.G. § 2D1.1(c)(3). After adding the specific

offense characteristics and role adjustments, the defendant’s new total offense level remains at a 40,

making him ineligible for a reduction in sentence under 18 U.S.C. § 3582(c)(2). See United States

v. Snipes, 385 F. App’x 483, 486 (6th Cir. 2010) (holding that defendant was not eligible for

sentence reduction where the applicable guideline range after considering the effect of the

amendment to the Sentencing Guidelines was identical to the original guideline range under which

the defendant was sentenced).

       Accordingly, it is ORDERED that the defendant’s motion for reduction of sentence [dkt.

#1032] is DENIED.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

Dated: February 24, 2012


                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on February 24, 2012.

                                                           s/Deborah R. Tofil
                                                           DEBORAH R. TOFIL




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